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                                                                                            Elior D. Shiloh
                                                                                77 Water Street, Suite 2100
                                                                              New York, New York 10005
                                                                           Elior.Shiloh@lewisbrisbois.com
                                                                                      Direct: 212.232.1362




    December 14, 2018                                                                     File No. 41575.17

   VIA ECF
   Hon. Alvin K. Hellerstein, S.U.S.D.J.
   United States District Court
   Southern District of New York
   Daniel Patrick Moynihan
   United States Courthouse
   500 Pearl St., Room 14D
   New York, New York 10007

            Re:       Geiss, et al. v. The Weinstein Company Holdings, LLC, et al.,
                      Case No. 17-Civ-09554

   Dear Judge Hellerstein:

          Together with Kupferstein Manuel LLP, we are counsel for Defendant Harvey Weinstein. On
   December 13, 2018, Plaintiffs filed a motion for a Protective Order (Dkt. No. 183). The motion, styled
   as one brought pursuant to Rule 26(c), Fed. R. Civ. P, seeks to compel Mr. Weinstein to produce
   documents received from the Debtors in the bankruptcy proceeding In re Weinstein Company Holdings,
   LLC, Case No. 18-10601 (MFW) (Bankr. D. Del.) relating to Plaintiffs and putative class members.
   Second, the motion seeks a protective order restricting all defendants from releasing any of these
   documents to the media or any third-parties. As set forth below, this motion should be held in abeyance
   pending a ruling by the Delaware Bankruptcy Court on a pending motion pertaining to the same
   documents that are the subject of Plaintiffs’ motion.

           First, the motion is improper as it seeks to compel discovery that has yet to be requested in a
   case where discovery has not commenced, and no defendant has answered the Amended Complaint.
   Second, and most importantly, the Plaintiffs’ motion improperly seeks to circumvent the jurisdiction of
   the Delaware Bankruptcy Court. The documents (e-mails) sought by Plaintiffs were obtained by Mr.
   Weinstein by Order of the Hon. Mary F. Walrath, U.S.B.J., who presides over the bankruptcy
   proceeding involving The Weinstein Company and its related entities (the “Debtors”). These documents
   are property of the Debtors’ estates and the Bankruptcy Court exercises exclusive jurisdiction over all
   of the Debtors’ property, including such documents.




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        The disclosure and use of these documents are governed by the Bankruptcy Court’s Order
Authorizing the Protocol for Production of Documents in Response to Harvey Weinstein’s Motion
Compelling Discovery Under Rule 2004 of the Federal Rules of Bankruptcy Procedure, entered on June
5, 2018 under which Judge Walrath ordered the Debtors to produce certain emails subject to certain
confidentiality restrictions. On December 6, 2018, Mr. Weinstein filed a motion in the Bankruptcy
Court requesting the lifting of those confidentiality restrictions and permission for complete access to
these documents. Judge Walrath scheduled a hearing on January 8, 2019 to hear that motion. In a
transparent attempt to circumvent the Bankruptcy Court’s jurisdiction, Plaintiffs have filed the instant
motion for a protective order asking this Court to compel Mr. Weinstein to turn over documents which
are the property of the Debtors’ estates and to issue a ruling on the disclosure of these documents even
though that issue is already before the Bankruptcy Court set to be heard on January 8. Notably, Plaintiff
Geiss, a member of the creditors’ committee in the bankruptcy case, opposed Mr. Weinstein’s motion in
the Bankruptcy Court. Enclosed herewith is Mr. Weinstein’s bankruptcy counsel’s letter to Judge
Walrath advising her of Plaintiffs’ motion in this Court. As set forth in that correspondence, Mr.
Weinstein was compelled to bring this filing to the attention of Judge Walrath as it concerns property of
the Debtors, potentially violates the automatic stay in place, and represents an attempted end run around
Her Honor’s forthcoming ruling.

        Plaintiffs are attempting to circumvent the Bankruptcy Court as Plaintiff Geiss is a member of
the creditors’ committee in the bankruptcy and lead Plaintiffs counsel Elizabeth Fegan has been directly
involved the various motions concerning these documents in the Bankruptcy Court. As such, they are
fully aware that this issue is already before the Bankruptcy Court and that the documents they seek are
subject to jurisdiction of the Bankruptcy Court. This motion represents an improper attempt to use this
Court to circumvent the jurisdiction of the Bankruptcy Court.

        Plaintiffs’ motion should be held in abeyance pending the Bankruptcy Court’s ruling on Mr.
Weinstein’s motion. Following said ruling, Plaintiffs’ motion may be moot, or the parties can set a
briefing schedule to address any issues that are not decided by the Bankruptcy Court. Thank you for
your attention to this matter.

                                                Respectfully,


                                                Elior D. Shiloh
                                                Elior D. Shiloh of
                                                LEWIS BRISBOIS BISGAARD & SMITH LLP

EDS
Enclosures
cc:    All counsel of record (via ECF)
       Hon. Mary F. Walrath, U.S.B.J. (via ECF & Hand Delivery)


                                LEWIS BRISBOIS BISGAARD & SMITH LLP
                                          www.lewisbrisbois.com


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 600 N. King Street ● Suite 400
 P.O. Box 25130 ● Wilmington, DE 19899                                               (302) 429-4261
 Zip Code For Deliveries 19801                                        Email: scousins@bayardlaw.com

                                         December 14, 2018

Via CM/ECF and Hand Delivery

Honorable Mary F. Walrath
United States Bankruptcy Court for the District of Delaware
824 North Market Street
5th Floor, Courtroom #4
Wilmington, DE 19801

 Re:        In re The Weinstein Company Holdings LLC, et al., Case No. 18-10601—
            Harvey Weinstein’s Motion for an Order Permitting Use of Documents
            Produced Under 2004 Order [D.I. 1829]

 Dear Judge Walrath:

      This firm represents Harvey Weinstein in connection with the above-referenced
 bankruptcy cases. We write to inform the Court of a recent filing made in the civil action
 captioned Louisette Geiss v. The Weinstein Company Holdings LLC, et al., Case No.
 1:17-cv-09554 (the “Geiss Action”), pending in the U.S. District Court for the Southern
 District of New York (the “S.D.N.Y.”).

      As this Court is aware, on December 6, 2018, Mr. Weinstein filed his Motion for an
 Order Permitting Use of Documents Produced Under 2004 Order [D.I. 1829] (the
 “Motion”), by which he sought permission to use the e-mails produced by the Debtors
 under previous orders of this Court in connection with the defense of certain pending
 civil litigation and insurance coverage actions. On the same date, Mr. Weinstein also
 filed a motion (the “Motion to Shorten”) asking that the Court expedited consideration
 of his Motion and set it for hearing at the already scheduled December 17, 2018 omnibus
 hearing. The next morning, counsel to the Official Committee of Unsecured Creditors
 contacted chambers by e-mail—without copying Mr. Weinstein’s counsel—and indicated
 that “the Committee and/or certain of its members will be filing an objection to [the
 Motion to Shorten].” At 5:00 p.m. on December 10, 2018, counsel to Louisette Geiss
 (plaintiff in the Geiss Action) filed an objection (the “Geiss Objection”) to the Motion to
 Shorten, to which Mr. Weinstein replied the same night. The Geiss Objection raised only
 issues with the expedited timing requested by the Motion to Shorten and did not even
 allude to a substantive, legal basis on which Ms. Geiss objects to the relief sought by the
 Motion. On December 12, 2018, this Court entered an order denying the Motion to
 Shorten and setting a hearing on the Motion for January 8, 2019.

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     As the Court is likely aware, in the months leading up to Mr. Weinstein’s filing of
the Motion and the Motion to Shorten, Ms. Geiss (through her counsel) has been actively
involved in the negotiations and hearings regarding Mr. Weinstein’s use of the e-mails
produced to him by the Debtors. Ms. Geiss’s counsel appeared and argued at the
telephonic hearing held on August 2, 2018, at which the Court permitted Mr. Weinstein
to use certain e-mails in defense of the criminal charges against him. She again appeared
and argued at the telephonic hearing held on November 27, 2018, at which the Court
granted Mr. Weinstein further use of all the e-mails produced to him in connection with
his defense of the criminal charges brought against him. Prior and subsequent to the
November 27 hearing, Ms. Geiss’s counsel was included in Mr. Weinstein’s efforts to
confer and reach a consensual agreement and order permitting the use of the e-mails
produced by the Debtors. At each juncture, Ms. Geiss’s position has only been to insist
that the Court prevent Mr. Weinstein from using exculpatory evidence to defend himself
from the civil and criminal allegations levied against him. At no point has Ms. Geiss
cited or asserted any privilege or other legal principal on which this Court, or any other,
could restrict the use of the e-mails. Her goal is simply to prevent Mr. Weinstein from
introducing evidence that would undermine her claims.

    Subsequently—and notwithstanding the pendency of the Motion before this Court—
on December 12, 2018, Ms. Geiss’s counsel filed Plaintiffs’ Motion for Protective Order
Regarding Victims’ Communications Produced by the Weinstein Company to Harvey
Weinstein (the “Motion for Protective Order”) in the S.D.N.Y.1 By the Motion for
Protective Order, Ms. Geiss asks the S.D.N.Y. to (i) order Mr. Weinstein to “produce all
documents he received from Debtor[sic] relating to Plaintiffs and class members to [Ms.
Geiss’s counsel” and (i) enter a “protective order” restricting Mr. Weinstein’s use of
materials produced to him under his Court’s previous orders.

     Mr. Weinstein believes that the filing of the Motion for Protective Order prior to this
Court’s adjudication of the Motion raises a number of troubling issues, including, without
limitation: (i) whether this Court has jurisdiction over e-mails stored on the Debtors’
severs, which this Debtors have argued are property of their estates; (ii) whether Ms.
Geiss has violated the automatic stay by seeking an order in a different court restricting
the use of such estate property; (iii) whether, by filing the Motion to for Protective Order
in the S.D.N.Y. instead of this Court, Ms. Geiss is attempting to make an end run around
this Court’s ruling on the Motion; and (iv) whether the S.D.N.Y. has jurisdiction to issue
a ruling affecting the property of the Debtors’ estates.




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      A copy of the Motion for Protective Order, and the memorandum of law and declaration in support
thereof are attached to this letter as Exhibit A.
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    Should the Court have any questions or concerns, undersigned counsel to Mr.
Weinstein is available at the Court’s convenience, including at the omnibus hearing
currently scheduled to go forward on October 17, 2018 at 10:30 a.m.


                                         Very truly yours,

                                         /s/ Scott D. Cousins

                                         Scott D. Cousins




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